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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION
  ULTRAVISION TECHNOLOGIES, LLC,                     )   Case No. 2:19-cv-00291-JRG-RSP
                                                     )   (LEAD CASE)
                          Plaintiff,                 )
                                                     )   JURY TRIAL DEMANDED
          v.                                         )
                                                     )
  HOLOPHANE EUROPE LIMITED,                          )
  ACUITY BRANDS LIGHTING DE                          )
  MEXICO S DE RL DE CV, HOLOPHANE                    )
  S.A. DE CV and ARIZONA (TIANJIN)                   )
  ELECTRONICS PRODUCT TRADE CO.,                     )
  LTD.,                                              )

                                       NOTICE OF MEDIATOR

          Pursuant to the First Amended Docket Control Order Dated October 3, 2020 (Dkt. 110)

  ordering the Parties to indicate whether mediation is appropriate within fourteen days of the

  Claim Construction Order, the Parties state their respective positions as follows:

  Plaintiff’s position

          The parties already engaged in an unsuccessful mediation before Magistrate Judge

  Thynge in the District of Delaware in November 2020 in the related declaratory judgment action

  Acuity Brands Lighting, Inc. v. Ultravision Technologies, LLC pending in that District. Given

  the recent failure, Ultravision does not believe mediation is appropriate at this time. However,

  Ultravision believes that additional mediation in this action will be necessary after the pretrial

  conference. Ultravision requests the Honorable David Folsom be appointed to mediate this case,

  but that no mediation be ordered until after the pretrial conference currently set for January 25,

  2021.
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  Defendants’ position

          On November 23, 2020, the parties in this case and those in the co-pending case in

  Delaware participated in a joint mediation. It was unsuccessful and, based on the parties’

  positions, Defendants agree with Plaintiff that a second mediation in the present case is unlikely

  to be productive at this time. Accordingly, Defendants contend that the parties’ resources are

  better used preparing for trial and that the issue of whether to schedule a second mediation be

  deferred until closer to trial.

  Dated: December 22, 2020                             Respectfully submitted,

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                                            LTD.




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                                 CERTIFICATE OF SERVICE


         I hereby certify that on December 22, 2020, a true and correct copy of the above and

  foregoing document has been served on counsel of record via the Court’s CM/ECF system per

  Local Rule CV-5(a)(3).

                                         /s/ Alfred R. Fabricant
                                             Alfred R. Fabricant




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